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 6                       IN THE UNITED STATES DISTRICT COURT
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                                FOR THE DISTRICT OF ARIZONA
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     IN RE: BARD IVC FILTERS PRODUCTS MDL No. 2:15-MD-02641-DGC
10   LIABILITY LITIGATION
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     This Document Relates To:
12   MARIE BRADDOCK
13                                                  No. 2:17-cv-00583-DGC
                   Plaintiff,
14          vs.                                     ORDER OF DISMISSAL
15                                                  WITHOUT PREJUDICE
     C. R. BARD, INC. and BARD
16   PERIPHERAL VASCULAR, INC.

17                 Defendants.

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19          Considering the Plaintiff’s Notice of Voluntary Dismissal Without Prejudice of
20   All Claims of Plaintiff, MARIE BRADDOCK
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            IT IS HEREBY ORDERED, ADJUDGED, AND DECLARED that all claims
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23   against Defendants C. R. BARD INC. and BARD PERIPHERAL VASCULAR, INC. in
24   Civil Action No. MD-15-02641 (Member Case 2:17-cv-00583) are hereby dismissed
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     without prejudice as to the refiling of same, and each party shall bear its own costs.
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